       Case 1:20-cr-02012-SMJ    ECF No. 111   filed 06/24/22   PageID.404 Page 1 of 2




1                                                                         FILED IN THE
                                                                      U.S. DISTRICT COURT
                                                                EASTERN DISTRICT OF WASHINGTON

2
                                                                 Jun 24, 2022
3
                                                                     SEAN F. MCAVOY, CLERK

4
5                         UNITED STATES DISTRICT COURT
6                       EASTERN DISTRICT OF WASHINGTON
7
8     UNITED STATES OF AMERICA,                    No. 1:20-CR-2012-SMJ-1

9                        Plaintiff,                ORDER GRANTING
10                                                 DEFENDANT’S MOTION TO
                         v.                        EXPEDITE AND MOTION TO
11                                                 MODIFY CONDITIONS OF
12    ORLANDO XAVIER MEDINA, JR.,                  RELEASE
13
                         Defendant.                ECF Nos. 109, 110
14
15         BEFORE THE COURT is Defendant’s motion to modify the conditions of
16   his pretrial release, ECF No. 109, and related motion to expedite, ECF No. 110.
17         Defendant requests he be released from Special Condition No. 7 of the Order
18   Denying the United States’ Motion for Detention and Setting Conditions of
19   Release. ECF No. 109. Special Condition No. 7 requires that Defendant
20   participate in a program of GPS monitoring. ECF No. 22, Special Condition No. 7.
21   Neither the United States Attorney nor the U.S. Probation Office object to
22   Defendant’s request in this regard. ECF No. 109 at 3.
23         The Court, finding good cause, HEREBY ORDERS Defendant’s Motion to
24   Modify Conditions of Release, ECF No. 109, and corresponding motion to
25   expedite, ECF No. 110, are GRANTED.
26         IT IS FURTHER ORDERED that Defendants’ conditions of release are
27   modified as follows: Special Condition No. 7, ECF No. 22, is STRICKEN.
28   ///



     ORDER - 1
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1          All other terms and conditions of pretrial release not inconsistent herewith
2    shall remain in full force and effect.
3          IT IS SO ORDERED.
4          DATED June 24, 2022.
5
6                                 _____________________________________
                                        ALEXANDER C. EKSTROM
7
                                   UNITED STATES MAGISTRATE JUDGE
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     ORDER - 2
